       Case 2:22-cv-00955-JFM          Document 169        Filed 02/21/25      Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: VANGUARD CHESTER                        : CIVIL ACTION
 FUNDS LITIGATION                               :
                                                :
                                                : NO. 22-955
                                                :
                                                :

                                            ORDER
       AND NOW, this 21st day of February 2025, upon considering Robert Agnich’s attached

email requesting to redact information, and showing good cause, it is ORDERED the Clerk of

Court shall strike DI 166 and replace it with the attached redacted version.




                                                     MURPHY, J.
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From:           Robert Agnich
To:             Murphy_Chambers
Subject:        2:22-cv-00955-JFM
Date:           Wednesday, February 19, 2025 5:09:46 PM


CAUTION - EXTERNAL:

To the Court:

I wrote an email to the Court regarding the above referenced case that was published to the
docket today. In it, I provide my mobile phone number and email address. Attached to my
letter is my notice of opt out. That notice required certain personal contact information,
namely my wife's phone number and home address. If allowed, I would appreciate that
information be redacted as well.

It is filed as "Document 166".

I'm writing to request that the personal information that is not required by the court be
redacted.

Rather than include my phone number inside this message, please contact me at this email
address if you need anything further from me.

Thank you for your time and for your attention.

Sincerely,

Robert Agnich
CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
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From:           Robert Agnich
To:             Murphy Chambers
Subject:        2:22-cv-00955-JFM IN RE: VANGUARD CHESTER FUNDS LITIGATION
Date:           Sunday, February 16, 2025 4:07:06 AM
Attachments:    Opt Out Letter for Tory.docx


CAUTION • EXTERNAL:

To the Comt:

My wife (To1y Nims) and I are a "haimed paiiy" to the above referenced case. I am not an
attorney. In no small pa1t because, as a member of the class, I was unable to get out then
lawyer (Mr. Kim of Rosen Fiim) to retmn my emails or call over a three week period, we were
forced to make an "executive decision" in order to meet the opt out filing deadline without the
benefit of fo1mal legal advice from om own attorney. We made a decision as best as we were
able given unce1tain facts and cii·cumstances to opt out of the class.
My understanding is that, as one who is no longer a member of the class, I do not have
standing to object. However, I do have input that is not reflected in cunent filings that I
believe valuable to the class. I believe that even to file an Amicus brief, I need to be an
attorney admitted by the comt
So, is there a way for me to file a sho1t brief/letter/input that will be recognized by the Comt?
I believe that my input will benefit the class.

Thank you in advance. I ve1y much appreciate yom�e reached here, at my work
address (ragnich@agnich com), or on my mobile at __

Sincerely,

Robe1t Agnich


Cc: To1y Nims
CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
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Tory Guilfoyle Nims




February 3, 2025

Vanguard Chester Funds Litigation
c/o Strategic Claims Services
600 N. Jackson St., Ste. 205
P.O. Box 230
Media, PA 19063

Subject: Request for Exclusion from the Settlement Class (Case No. 2:22-cv-955-JFM (E.D.
Pa.))

Dear Claims Administrator,

I, Tory Guilfoyle Nims, request to be excluded from the Settlement Class in In re Vanguard
Chester Funds Litigation, Case No. 2:22-cv-955-JFM (E.D. Pa.). I do not wish to participate in the
proposed settlement, and I understand that by opting out, I will not receive any payment from the
settlement fund but will retain my right to pursue any claims independently.

As required, I am providing the following information:

   x   Full Name: Tory Guilfoyle Nims
   x   Address:
   x   Phone Number:
   x   Email Address: agnich.tory@gmail.com
   x   IîôĲťĖƱèÍťĖĺĲ bŪıæôŘ:
   x   Investor TRFs Owned: Vanguard Target Retirement 2040 Fund (VFORX)
   x   Number of Shares Held and Account Type:                  shares in an individual brokerage
       account              as of December 31, 2021
   x   Documentation: Enclosed is a copy of my December 31, 2021, Vanguard statement
       èĺĲƱŘıĖĲČ ıƅ ēĺīîĖngs of Vanguard Target Retirement 2040 Fund (VFORX) and my
       æôĲôƱèĖÍī ĺſĲôŘŜēĖŕ ĺċ ťēĺŜô ŜēÍŘôŜ. Also included for reference is a copy of the court-
       ordered legal notice sent to me.

I declare under penalty of perjury that the information provided is accurate and that I am the
æôĲôƱèĖÍī ĺſĲôŘ ĺċ ťēô ŘôċôŘôĲèôî ĖĲŽôŜťıôĲťŜϟ īôÍŜô èĺĲƱŘı ŘôèôĖŕť ĺċ ťēĖŜ ŘôŗŪôŜť ÍĲî ıƅ
exclusion from the settlement class.

Sincerely,



Tory Guilfoyle Nims



Cc: Robert F. Agnich
